                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Sean Paul Reyes
                                  Plaintiff,
v.                                                      Case No.: 1:22−cv−07339
                                                        Honorable Maria Valdez
Richard Volanti, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 19, 2023:


        MINUTE entry before the Honorable Maria Valdez: The parties' Joint Motion to
Extend Fact Discovery [49] is granted. The Court hereby extends the deadline for the
completion of fact discovery to 2/16/24. The Court further sets 3/29/24 as the deadline for
dispositive motions. As suggested by the parties, any expert discovery schedule will be set
after dispositive motions have been ruled upon. The parties are to file a joint status report
by 2/19/24 confirming that fact discovery has been completed. Mailed notice(lp, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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